

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-47,104-02






RODNEY WAYNE WATSON, Relator


v.


ECTOR COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. D-20,353 &amp; D-20,354 IN THE 358TH JUDICIAL DISTRICT COURT

FROM ECTOR COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed four applications for a writ of habeas corpus
in the 358th Judicial District Court of Ector County, that more than 35 days have elapsed, and that
the applications have not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed. The respondent, the District Clerk of 
Ector County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus applications; submitting copies of timely filed orders that designate issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
claims asserted in the applications filed by Relator are not cognizable under Tex. Code Crim. Proc.
art 11.07, § 3; or stating that Relator has not filed any applications for a writ of habeas corpus in
Ector County. This application for leave to file a writ of mandamus shall be held in abeyance until
the respondent has submitted the appropriate response. Such response shall be submitted within 30
days of the date of this order.



Filed: December 17, 2008

Do not publish	


